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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

HOLLOW SPIRITS, LLC,
Plaintiff,
VS. Civ. No. 18¢v257 MV/JFR

CORSON DISTILLING SYSTEMS, INC.,
TORY CORSON, and JOSH CORSON,

Defendants.

SUPPLEMENTAL AFFIDAVIT OF H. JESSE JACOBUS, IL
H. Jesse Jacobus, III, being duly sworn, hereby states as follows:

1. I am over 18 years of age and competent to make this Affidavit in ire above-
referenced matter. | have knowledge of the facts set forth in this Affidavit.

2, [ am the undersigned counsel for the Plaintiff in above captioned case.

3. Upon information and belief, Defendant Tory Corson maintains his residence in
Idaho and is a citizen of that same state.

4. The most recent publicly reported address for Defendant Tory Corson is in Idaho.
Exhibit A (PeopleMap Search for Tory Corson).

5. Upon information and belief, Defendant Josh Corson maintains his residence in
Idaho and is a citizen of that same state.

6. The most recent publicly reported address for Defendant Josh Corson is in Idaho.
Exhibit B (PeopleMap Search for Josh Corson).

7. Defendant Tory Corson was served with a summons in this matter on April 13,

2019 at 3908 W. Normandie Circle, Boise, Idaho 83705. [Doc. 40].
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8. Defendant Josh Corson was personally served with a summons in this matter on
April 13, 2019 at 3908 W. Normandie Circle, Boise, Idaho 83705. [Doc. 391.

9, Upon information and belief Defendant Tory Corson and Defendant Josh Corson
have never been to New Mexico, nor do they maintain any significant ties to New Mexico.

10. Upon information and belief, Defendant Tory Corson and Defendant Josh Corson
do not intend to come to New Mexico, establish citizenship in New Mexico, or create any

significant ties to New Mexico.

FURTHER AFFIANT SAYETH NOT.

 

 

H. JESSE JACOBUS, III

STATE OF NEW MEXICO )
) ss.
COUNTY OF BERNALILLO )

Subscribed and sworn to before me this 11" day of February 2020, by H. Jesse Jacobus, III.

 

 

    

 

OFFICIAL SEAL , / : } < _f
Alysha C. Smith 3 NY
STATE OF NEW MEXICO. , Net Xu
My Commission Expires te of Notayy Public

 

 

My Commission Expires:

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